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UNITED STATES OF AMERICA

                   IN THE UNITED STATES DISTRICT COURT

                         FOR THE DISTRICT OF HAWAII

UNITED STATES OF AMERICA,               )   CR. NO. 17-00101 LEK
                                        )
          Plaintiff,                    )   UNITED STATES’S RESPONSE TO
                                        )   DEFENDANT’S SIXTH MOTION FOR
    vs.                                 )   ORDER TO SHOW CAUSE AND
                                        )   REQUEST FOR EXPEDITED
ANTHONY T. WILLIAMS,                    )   HEARING; CERTIFICATE OF
                                        )   SERVICE
          Defendant.                    )
                                        )

  UNITED STATES’S RESPONSE TO DEFENDANT’S FIFTH MOTION FOR
  ORDER TO SHOW CAUSE AND REQUEST FOR EXPEDITED HEARING

      The government respectfully submits this brief in response to Defendant

Anthony T. Williams’s (Defendant) Sixth Motion for Order to Show Cause and
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Request for Expedited Hearing (6th OSC Motion). Defendant’s moves the Court

for an Order requiring the Bureau of Prisons (BOP) Federal Detention Center,

Honolulu (FDC Honolulu) to permit him “to give to his standby counsel items to

place in the U.S. Mail.” 6th OSC Mot. 1, ECF No. 375 at 1. Defendant claims that

“items that he has attempted to mail to [his standby counsel] and others have not

been delivered, and he believes that his outgoing mail is being interfered with by

FDC Honolulu staff members.” Declaration of Counsel (Counsel. Decl.) ¶ 2, ECF

No. 375-1 at 1.

        The motion should be denied. As with prior motions, the gravamen of

Defendant’s motion is a request for court intervention into Bureau of Prisons

(BOP) operations. Just as this Court has ruled earlier, however, Defendant must

first follow the grievance procedures of the BOP before raising this issue to the

Court’s attention. Because Defendant has failed to do so, the motion should be

denied. In any event, as a practical matter, this motion is unnecessary to the BOP’s

existing policies appear to permit Defendant to deliver items to his own counsel.

   I.      Defendant Has Failed To Follow BOP’s
           Grievance Procedures Relating To His Claim

        The 6th OSC Motion should be denied because Defendant has failed to

initiate or follow the BOP’s grievance procedures. At heart, the 6th OSC Motion

impermissibly seeks an Order from this Court requiring that the BOP to permit

Defendant a privilege.

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      Essentially, therefore, the 6th OSC Motion challenges the conditions of

Defendant’s confinement in a manner similar to motions that this Court has

rejected in the past. See March 7, 2018 Order Denying (1) Motion for Order to

Show Cause, and (2) Ex Parte Application and Motion for Funds to Purchase Legal

Supplies. ECF No. 132. Just as this Court has ruled upon those motions, see id.,

Defendant must exhaust his administrative remedies with respect to challenges to

the conditions of his confinement before approaching the Court.

      Defendant has failed to exhaust his administrative remedies here. “The

doctrine of exhaustion of administrative remedies is well established in the

jurisprudence of administrative law.” Woodford v. Ngo, 468 U.S. 81, 88 (2006)

(quoting McKart v. United States, 395 U.S. 185, 193 (1969)). “The doctrine

provides that no one is entitled to judicial relief for a supposed or threatened injury

until the prescribed administrative remedy has been exhausted.” McKart, 395 U.S.

at 193 (quoting Myers v. Bethlehem Shipbuilding Corp., 303 U.S. 41, 50, 51

(1938)).

      Here, as with his previous motion for funds to pay for legal supplies, see

ECF No. 132, Defendant has failed to show that he has exhausted the available

administrative remedies with the BOP. To exhaust his administrative remedies,

Defendant must proceed through the Administrative Remedy Program. See 28

C.F.R. §§ 542.10-542.19; Bureau of Prisons Program Statement on Administrative


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Remedy Program, Jan. 6, 2014 avail. at

https://www.bop.gov/policy/progstat/1330_018.pdf.

      This Court previously outlined the BOP grievance process in its March 7,

2018 Order, ECF No. 132 at 4-5. Under the BOP grievance process, the inmate

must first seek informal resolution of the issue of concern at his institution of

confinement, the Federal Detention Center, Honolulu. Id. § 542.13. If no

informal resolution is reached, the inmate must file a formal request (BP-9) with

the Warden. Id. § 542.14. If the Warden denies the remedy, the inmate may

appeal first to the Regional Director (BP-10), within 20 days of receiving the

Warden’s response, and thereafter to the General Counsel in Washington, D.C.

(BP-11), within 30 days of receiving the Regional Director’s response. Id.

§ 542.15. Administrative exhaustion does not take place until a final decision is

received from the Office of General Counsel, or until a response is not forthcoming

within the time allotted for reply. Id. §§ 542.15(a); 542.18.

      Defendant’s current motion makes no showing that Defendant exhausted his

administrative remedies and the BOP can confirm that he has not. Rather, the

motion merely attaches the declaration of Defendant’s standby counsel Lars

Isaacson to explain that items that Defendant “has attempted to mail to me and

others have not been delivered and [Defendant] believes that his outgoing mail is

being interfered with by FDC Honolulu staff members.” Def. 6th OSC Mot. Exh.


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A at 1, ECF No. 375-1. Mr. Isaacson then continues that “Mr. Williams has asked

me to request this Court to enter an order that would allow him to provide me with

items for mailing in regard to his defense of these charges and other legal matters

that he is pursuing.” Id. at Exh. A. at 2.

         Both Defendant and Mr. Isaacson have been on notice since March 7, 2018

that they are required to exhaust Defendant’s administrative remedies before

seeking redress from this Court. ECF No. 132. Because Defendant has failed to

do so, the motion should be denied. Should Defendant wish to have any

accommodation or relief from BOP’s rules, he must make this request to the BOP

and, if denied, he must utilize the BOP grievance procedures, as described above.

   II.      Defendant Has The Ability To Hand Deliver
            Items To His Standby Counsel During Visitation

         This Court should also not grant Defendant’s motion because it

misrepresents BOP’s policies and appears to be unnecessary. Mr. Isaacson claims

that Defendant asked him to file this motion because Defendant claimed that “his

outgoing mail is being interfered with by FDC Honolulu staff members.” 6th OSC

Motion Exh. A at 1, ECF No. 375-1.

         As an initial matter, it should be noted that, contrary to Defendant’s

assertion, BOP has no record of intercepting Defendant’s outgoing mail to Mr.

Isaacson. Indeed, according to the BOP’s rules, outgoing “special mail,” which

includes attorney client communications, is not searched outside the presence of

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the inmate, but is rather “subject to scanning, by electronic means including but not

limited to x-ray, metal detector, and ion spectrometry devices.” See Para. 3.9

In/Out Processing Requirements for Special and Legal Mail, BOP Mail

Management Policy, https://www.bop.gov/policy/progstat/5800_016.pdf. Such scanning is

“for the sole purpose of identifying harmful materials, and cannot be used to read

or review the content of outgoing special mail communication.” Id.

      Thus, this Court’s intervention and Defendant’s requested relief is

unnecessary. Pursuant to the BOP’s mailing procedures, Defendant may mail

items to his standby counsel. Alternatively, Defendant may physically provide his

standby counsel with mail or other documentation by physically delivering these

items to his standby counsel during any visitation.

                                   CONCLUSION

      For the reasons above, the government respectfully requests that the Court

deny the Defendant’s 6th OSC Motion.

             DATED: November 21, 2018, at Honolulu, Hawaii.

                                                KENJI M. PRICE
                                                United States Attorney
                                                District of Hawaii


                                                By /s/ Gregg Paris Yates
                                                  GREGG PARIS YATES
                                                  Assistant U.S. Attorney



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                            CERTIFICATE OF SERVICE

             I hereby certify that, on the dates and by the methods of service noted

below, a true and correct copy of the foregoing was served on the following by the

method indicated on the date of filing:

Served Electronically through CM/ECF:

      Lars Isaacson, Esq.
      hawaii.defender@earthlink.net

      Attorney for Defendant
      ANTHONY T. WILLIAMS

Served by Certified Mail:

      Anthony T. Williams
      Register No. 05963-122
      Inmate Mail
      FDC Honolulu
      PO Box 30080
      Honolulu, HI 96820

             DATED: November 21, 2018, at Honolulu, Hawaii.


                                             /s/ Melena Malunao
                                             U.S. Attorney’s Office
                                             District of Hawaii
